          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                        CRIMINAL CASE NO. 1:10cr64


UNITED STATES OF AMERICA,                  )
                                           )
                                           )
                  vs.                      )            ORDER
                                           )
                                           )
JOSE GUADALUPE MIRANDA.                    )
                                          )



      THIS MATTER is before the Court on the Motion for Status of Counsel

Hearing and Motion for Continuance [Doc. 20] of the Defendant’s previous

counsel and the Motion to Continue of the Defendant’s newly retained counsel

[Doc. 23].

      On October 3, 2010, the Defendant was charged with possession with

intent to distribute at least 5 grams of actual methamphetamine, in violation

of 21 U.S.C. §841(a)(1). [Doc. 1]. The Defendant first appeared with counsel

on October 15, 2010 at which time he was arraigned and his case was placed

on the November 2011 trial calendar. [Doc. 10]. Because the Defendant had

less than thirty days from his appearance with counsel and the trial term, his

case was continued sua sponte. [Doc. 15].

      As a result of the motion for a status of counsel hearing, the Magistrate

Judge conducted such a hearing on December 21, 2010. The Magistrate

Judge found that counsel should be relieved and that the Defendant had




      Case 1:10-cr-00064-MR    Document 24     Filed 12/28/10   Page 1 of 2
retained new counsel. Because counsel was only recently retained, he has

moved to continue the case from the January 2011 term so that he may have

adequate time to prepare.

      The Court finds that without a continuance, counsel would not have the

reasonable time necessary for effective preparation, taking into account the

exercise of due diligence. 18 U.S.C. §3161(h)(7)(B)(iv). The Court further

finds, for the reasons stated herein, that the ends of justice served by

continuing this case outweigh the best interests of the public and the

Defendant in a speedy trial. 18 U.S.C. §3161(h)(7)(A).

      IT IS, THEREFORE, ORDERED that the Motion for Continuance [Doc.

20] of the Defendant’s previous counsel and the Motion to Continue of the

Defendant’s newly retained counsel [Doc. 23] are hereby GRANTED and this

case is hereby CONTINUED from the January 2011 term in the Asheville

Division.

                                     Signed: December 28, 2010




      Case 1:10-cr-00064-MR   Document 24   Filed 12/28/10       Page 2 of 2
